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                      Exhibit B
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                                                                                        Exhibit
                                                                                              Lynn Chasteen
                                      B Page 2 of 59               Will County Circuit Clerk
                                                                Twelfth Judicial Circuit Court
                                                                          Electronically Filed
                                                                              2019L 001046
                                                            Filed
            IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT  Date: 7/27/2023   11:18 AM
                                                                        Envelope: 23715279
                            WILL COUNTY, ILLINOIS                                 Clerk: KDO

PRESENCE CENTRAL AND SUBURBAN             )
HOSPITALS NETWORKS,                       )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )                Case No. 19 L 1046
                                          )
MIDWEST LEASING OF ILLINOIS, LLC,         )
                                          )
      Defendant.                          )
_________________________________________ )
                                          )
MIDWEST LEASING OF ILLINOIS, LLC,         )
                                          )
      Third-Party Plaintiff               )
                                          )
      v.                                  )
                                          )
JOLIET ONCOLOGY-HEMATOLOGY                )
ASSOCIATES, LTD., et al.                  )
                                          )
      Third-Party Defendants.             )

      MIDWEST LEASING OF ILLINOIS, LLC AND SARODE PUNDALEEKA’S
               PETITION TO VACATE ARBITRATION AWARD

       Petitioners, Midwest Leasing of Illinois, LLC and Sarode Pundaleeka (“Petitioners”),

move this Court to vacate, pursuant to the Illinois Uniform Arbitration Act, 710 ILCS 5/1 et

seq., the Arbitrator’s Award in American Health Lawyers Association Claim No. 7146. In

support of this Petition, Petitioners by and through their counsel, state as follows:

                                      BACKGROUND

       1.      On December 9, 2019, Plaintiff, Presence Central and Suburban Hospitals Network

(“Presence”) filed suit against Midwest Leasing of Illinois, LLC (“Midwest”) for unjust

enrichment related to lease payments made under an equipment lease.

       2.      On December 30, 2020, Midwest filed a Third-Party Complaint against Joliet
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Oncology-Hematology Associates, Ltd. (“JOHA”) and certain individuals for contribution

alleging that the money at issue passed through Midwest to JOHA and that JOHA was the actual

party that was unjustly enriched.

       3.      On May 20, 2021, this Court stayed the Third-Party Complaint.

       4.      On March 21, 2022, this Court stayed the entirety of the lawsuit realizing that the

dispute might be governed by an arbitration clause in a Professional Services Agreement between

Presence and JOHA. A copy of the March 21, 2022 order is attached hereto as Exhibit A.

       5.      In the March 21, 2022 order, the “Court finds that there is a dispute as to whether

the arbitration clause should apply and thus, the case law requires that this matter be referred for

dispute resolution pursuant to Section 28 of the Professional Services Agreement.”

       6.      Presence re-filed the case in arbitration against Midwest and JOHA and Arbitrator

Michael Brohman was appointed.

       7.      Arbitrator Brohman never determined whether the arbitration clause should apply

and merely proceeded as if it did.

       8.      Faced with liability to Presence in excess of the assets it had on hand and a

multitude of claims coming and going, Midwest determined that it would pursue a bankruptcy and

direct its limited assets to those proceedings.

       9.      Knowing that its bankruptcy filing was imminent, when asked by Arbitrator

Brohman to make a $3,500 deposit for his fees, Midwest declined to make payment.

       10.     On March 13, 2023, Arbitrator Brohman entered a default against Midwest and Dr.

Sarode Pundaleeka (“Pundaleeka”) “for each of their separate failures, without good cause shown,

to comply with the additional deposit requirements of Orders 3, 5, and 10,” finding Midwest and

Pundaleeka liable to Presence without ever allowing them to submit documents in their defense.




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A copy of the March 13, 2023 order is attached hereto as Exhibit B.

        11.     Instead, liability was based entirely upon their refusal to pay a $3,500 bill of the

arbitrator.

        12.     On April 4, 2023, Midwest filed for Chapter 7 Bankruptcy. A copy of the

bankruptcy filing is attached as Exhibit C.

        13.     On April 5, 2023, Arbitrator Brohman held a prove-up hearing to allow Presence

to prove its damages as against Midwest and Pundaleeka.

        14.     On May 2, 2023, Arbitrator Brohman issued his Final Award (the “Award”) against

Midwest and Pundaleeka in the amount of $1,765,346.17. A copy of the Award is attached hereto

as Exhibit D.

        15.     Arbitrator Brohman backdated the Award to April 5, 2023, but did not issue the

Award until May 2, 2023. A copy of the transmission email is attached hereto as Exhibit E.

                                            ARGUMENT

        The Arbitration Act provides, in relevant part:

                (a) Upon application of a party, the court shall vacate an award
                where:
                       (1) the award was procured by corruption, fraud or other
                       undue means;
                       (2) there was evident partiality by an arbitrator appointed as
                       a neutral or corruption in any one of the arbitrators or
                       misconduct prejudicing the rights of any party;
                       (3) the arbitrators exceeded their powers;
                       (4) the arbitrators refused to postpone the hearing upon
                       sufficient cause being shown therefor or refused to hear
                       evidence material to the controversy or otherwise so
                       conducted the hearing, contrary to the provisions of Section
                       5, as to prejudice substantially the rights of a party; or
                       (5) there was no arbitration agreement and the issue was not
                       adversely determined in proceedings under Section 2 and the
                       party did not participate in the arbitration hearing without
                       raising the objection; but the fact that the relief was such that




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                           it could not or would not be granted by the circuit court is
                           not ground for vacating or refusing to confirm the award.
710 ILCS 5/12.

        The Illinois Supreme Court explained in Beckman v. Freeman United Coal Mining Co.,

123 Ill. 2d 281, 527 N.E.2d 303 (1988): “Where a party has grounds to believe that proceedings

were tainted, that party may seek to vacate awards for the following reasons: (1) fraud, corruption

or evident partiality; (2) the arbitrator exceeded his authority; (3) gross mistake of law or fact; (4)

plain mistake of law if the arbitration agreement requires the decision to be made according to law;

or (5) mistake of law if the award shows on its face that the arbitrator intended to decide according

to law but mistook or misconstrued it.” Nearly every one of these bases were exemplified here in

Arbitrator Brohman’s erroneous award intended solely to punish Midwest and Pundaleeka for

failing to pay his fees.

        I.      The Arbitrator exceeded his power where the Award was entered after the
                automatic stay of Midwest’s bankruptcy filing had taken effect.

        Section 362 of the Bankruptcy Code automatically stays the “commencement or

continuation . . . of a judicial, administrative or other action or proceeding against the debtor that

was or could have been commenced before the commencement of the case under this title.” 11

U.S.C. § 362. “Congress intended the stay to afford Debtor breathing room and to assure creditors

of equitable distribution.” In re Soares 107 F.3d 969, 977 (1st Cir. 1997), citing H.R.Rep. No. 595,

95th Cong., 1st Sess. 340 (1977). For this reason, “any proceedings or actions described in section

362(a)(1) are void and without vitality if they occur after the automatic stay takes effect.” Rexnord

Holdings, Inc. v. Bidermann, 21 F.3d 522, 527 (2d Cir. 1994); Eastern Refractories Co. Inc. v.

Forty Eight Insulations Inc., 157 F.3d 169, 172 (2d Cir. 1998). This includes the issuance of an

arbitration award. In re MarketXT Holdings Corp., No. 04-12078 (ALG), 2009 Bankr. LEXIS

1897, at *6-7 (Bankr. S.D.N.Y. July 20, 2009); Savers Fed. Savs. & Loan Ass'n v. McCarthy



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Constr. Co. (In re Knightsbridge Dev. Co.), 884 F.2d 145, 148-49 (4th Cir. 1989). The only

exception to this rule is if the bankruptcy court enters a retroactive annulment of the stay. In re

MarketXT Holdings Corp., No. 04-12078 (ALG), 2009 Bankr. LEXIS 1897, at *8 (Bankr.

S.D.N.Y. July 20, 2009).

          Here, Midwest filed its Bankruptcy Petition on April 4, 2023. (Ex. C.) Likely unaware of

the petition, Arbitrator Brohman held an evidentiary hearing on April 5, 2023. But Arbitrator

Brohman did not immediately issue an award. On April 14, 2023, counsel for Presence forwarded

a copy of the Bankruptcy Petition to Arbitrator Brohman and advised him that Midwest Leasing

had filed for bankruptcy the day before the evidentiary hearing. Arbitrator Brohman acknowledged

receipt of the petition and inquired as to whether Dr. Pundaleeka had filed a petition as well.

Ignoring the automatic stay imposed by Section 362 of the Bankruptcy Code, Arbitrator Brohman

then issued the Final Award on May 2, 2023 (though he backdated it to April 5, 2023). (Exs. D

and E.)

          Midwest’s bankruptcy would later be dismissed, but absent annulment of the automatic

stay, it was still in effect when Arbitrator Brohman issued the Final Award on May 2, 2023.

          When Arbitrator Brohman issued the Final Award four weeks after the filing of the

Bankruptcy Petition, he knowingly violated the automatic stay and unmistakably exceeded his

powers in doing so. The Award cannot legally stand and must be vacated.

          II.    The Arbitrator exceeded his power and refused to hear material evidence
                 when he entered a default order against Midwest and Pundaleeka.

          On March 13, 2023, Arbitrator Brohman issued an order finding Midwest and Pundaleeka

in default for failure to remit arbitrator fees of $3,500. The sanction of a default judgment in

arbitration is near-universally ill-advised because it contravenes the very purpose of arbitration.




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Notwithstanding a warning from Petitioners that he would be exceeding his authority, Arbitrator

Brohman proceeded nonetheless, ruling as follows:

               “Based on the foregoing, this Arbitrator concludes that he has the
               power to enter broad sanctions against each of Midwest and
               Pundaleeka for their individual failures to comply with the
               additional deposit requirements of Order Nos. 3, 5 and 10. The
               Arbitrator also concludes that one potential sanction against a party
               for defying payment orders is the entry of a default order.
               Accordingly, the Arbitrator hereby issues a default order against
               each of Midwest and Pundaleeka for each of their separate failures,
               without good cause shown, to comply with the additional deposit
               requirements of Orders 3, 5 and 10.”

       By entering a default judgment against Midwest and Pundaleeka without allowing them to

present their defenses to liability, Arbitrator Brohman exceeded his authority as an arbitrator.

       Numerous articles explore the topic of how an arbitrator should handle the instance of a

non-paying party and all conclude that either (a) one party may pay the full expense of the

arbitration with it then otherwise proceeding normally or (b) the arbitrator may terminate the

arbitration. Neal Eiseman and Brian Farkas explored the general rules in their article Stiffing the

Arbitrators: The Problem of Nonpayment in Commercial Arbitration:

               The AAA’s Commercial Arbitration Rules, amended and effective
               October 1, 2013, require the expenses of the arbitrators, witnesses,
               and the cost of any proof requested by the arbitrator, to be borne
               equally by the parties, unless they agree otherwise or unless the
               arbitrator assesses any portion of those expenses against a party in
               the final award. The specific AAA rule addressing “Arbitrator’s
               Compensation” is silent with respect to who pays what, but unless
               the parties’ arbitration agreement provides otherwise, the AAA bills
               each party on a 50-50 or pro-rata basis. A different rule, entitled
               “Remedies for Non-Payment,” establishes the protocol when one
               party fails to pay AAA administrative charges or the arbitrator’s
               compensation. Among other things, it gives the paying party the
               option of advancing 100% of the administrative charges or arbitrator
               compensation, and then allows that party to ask the arbitrator to
               reimburse it via the final award.

               JAMS takes a somewhat different approach. Its rules state the
               parties are “jointly and severally” liable to pay both the JAMS


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                 arbitration fees and arbitrator compensation. As with the AAA, the
                 apportionment of such fees and compensation is subject to
                 reallocation by the arbitrator in the final award. The CPR, and its
                 Administrated Arbitration Rules, effective July 1, 2013, is similar to
                 the AAA’s Commercial Arbitration Rules. Rule 17, “Arbitrator
                 Fees, Expenses and Deposits,” requires that the parties be invoiced
                 in equal shares. If the requested payments are not remitted, the
                 arbitration “may be suspended or terminated unless the other party
                 pays the non-paying party’s share subject to any award on costs.”

                 Although there are myriad international ADR treaties and providers,
                 the rules governing nonpayment are often similar to their domestic
                 counterparts. The International Chamber of Commerce (“ICC”)
                 requires that the fees and expenses of the arbitrators “be payable in
                 equal shares” subject to readjustment at any time during the
                 arbitration. The ICC will dismiss any claim if the parties fail to
                 advance the costs, but “any party shall be free to pay any other
                 party’s share” so its case can proceed to the arbitral tribunal. As one
                 attorney has put it, “It does not so much matter who pays, but rather
                 that the fees are in fact paid, in order for any claim to reach the
                 tribunal.” The paying party then must await the final award; if it
                 prevails, the tribunal will order reimbursement from the nonpaying
                 party. This places a heavier financial burden on the paying party,
                 effectively reducing one of arbitration’s attractions that both parties
                 bear the costs. A non-paying party in ICC arbitrations can use this
                 strategy to delay or halt the arbitration by refusing to pay.

(Emphasis added.) (Citations omitted.)1

        In fact, the AAA rules are explicit about defaults, going so far as saying, “In no event,

however, shall a party be precluded from defending a claim or counterclaim.” AAA Commercial

Arbitration Rules and Mediation Procedures, R-57. The rules continue, “The arbitrator may not

enter a default award as a sanction.” R-58. The AAA rules are much more comprehensive than the

AHLA rules and should be followed in the absence of an inconsistency.

        Regardless, the AHLA rules are generally in accord with the analysis of Eiseman and

Farkas. In his default order, Arbitrator Brohman cited AHLA Rules 4.1(a)(3), 4.1(a)(5), 5.3, and


1 Stiffing the Arbitrators: The Problem of Nonpayment in Commercial Arbitration, Neal Eiseman and Brian Farkas,

Harvard Negotiation Law Review. https://www.hnlr.org/wp-content/uploads/sites/22/HNLR-Eiseman-and-Farkas-
.pdf


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7.6(c) to establish his authority to enter a default. None of the rules do so and are more aligned

with the analysis of Eiseman and Farkas that the arbitrator should suspend the hearing if payments

are not made. Rules 4.1(a) and 7.6(c) only stand for the proposition that the arbitrator may sanction

parties. They do not address the extent of appropriate sanctions. But – consistent with Eiseman

and Farkas – Rule 5.3 directs the arbitrator to suspend proceedings if payments are not made:

               (b) DELAYED PAYMENT. If the Administrator does not receive
               the required amount, the arbitrator may suspend proceedings
               pending receipt of these funds. The arbitrator may also sanction a
               party for non-payment unless the party can prove to the arbitrator’s
               satisfaction that paying the deposit would cause financial hardship.
               A party may lift the suspension by depositing the amount due from
               another party, and may request the arbitrator to take this additional
               payment into account in the award.

AHLA Rule 5.3.

       Although the rule discusses sanctions, it does not permit a default judgment. Instead, it is

in accord with Eiseman and Farkas who suggest that either the arbitrator suspend the proceedings

or another party may pay the unpaid fee and the arbitrator should take this into account in the

award. A default simply is not appropriate under any arbitration rules.

       The reason defaults are never utilized as a sanction in arbitrations is because of the

reversible error it creates. Illinois’s Uniform Arbitration Act provides that at a hearing, “(t)he

parties are entitled to be heard, to present evidence material to the controversy and to cross-

examine witnesses appearing at the hearing.” 710 ILCS 5/5(b).

       When an arbitrator prohibits a party from presenting evidence, he contravenes the very

purpose of arbitration of deciding disputes on their merits. As such, the Act similarly provides that

“the court shall vacate an award where:…the arbitrators…refused to hear evidence material to the

controversy or otherwise so conducted the hearing, contrary to the provisions of Section 5, as to

prejudice substantially the rights of a party.” 710 ILCS 5/12(a)(4) (Emphasis added). See also



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Henley v. Economy Fire & Casualty Co., 153 Ill. App. 3d 66, 73 (1st Dist. 1987) (“we conclude

that the arbitrators’ failure to allow plaintiff the opportunity to present her legal response to

Economy’s motion violated her rights under section 5 of the Act and provided appropriate grounds

for vacation of the award pursuant to section 12(a)(4) of the Act”); Johnson v. Baumgardt, 216 Ill.

App. 3d 550, 560 (2nd Dist. 1991) (“Under section 12(a)(4) of the Act, the trial court did have the

authority to vacate the award, based on the arbitrators’ refusal to hear evidence material to the

controversy”).

       When Arbitrator Brohman entered the default order on March 13, 2023, he found Midwest

and Pundaleeka liable to Presence without permitting the respondents to present evidence. His

actions were contrary to section 5 of the Act.

       Quite simply, default judgments are contrary to the very purpose of arbitration in that they

prevent a party from presenting evidence material to the controversy. The default judgment entered

against Midwest and Pundaleeka contravened the terms of the Uniform Arbitration Act by

prohibiting them from presenting evidence. Instead, the more appropriate thing for Arbitrator

Brohman to have done would have been to allow Presence to pay the full fee and seek proper

apportionment of the costs of arbitration in the award or Arbitrator Brohman could have halted or

terminated the proceedings.

       III.      Arbitrator Brohman’s actions in entering a default judgment against
                 Petitioners evinces obvious partiality.

       Once it became clear to him that Midwest and Pundaleeka would not be paying his fees

and intended, instead, to proceed with a bankruptcy, Arbitrator Brohman determined only to

punish Petitioners for failing to pay his fees. Arbitrator Brohman’s obsession with payment and

his hyperfocus on Midwest and Pundaleeka’s failure is evident in his default order. Specifically,

he dedicated six paragraphs of the order (paragraphs 3 through 8), comprising a page and a half of



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discussion, to Petitioners’ failure to pay his fee. By March 13, 2023, it was obvious to Arbitrator

Brohman that Midwest and Pundaleeka had no intention of paying his fees and the default order

was solely intended to be punitive in nature. By the time he entered the default order, Arbitrator

Brohman was noticeably prejudiced against Midwest and Pundaleeka and displaying unmistakable

partiality towards Presence. The default order demonstrates his evident partiality.

       IV.     There was no agreement to arbitrate between Presence and Petitioners so as
               to grant the Arbitrator authority to enter an award against them.

       When Petitioners asked the Court to send this to arbitration, it was – at least initially – for

the limited purpose of determining whether the dispute should be arbitrated. The Court recognized

that the threshold issue for the Arbitrator to determine was where the dispute should be addressed.

In the March 21, 2022 order, the “Court finds that there is a dispute as to whether the arbitration

clause should apply and thus, the case law requires that this matter be referred for dispute

resolution pursuant to Section 28 of the Professional Services Agreement.”

       As it recognized, case law required the Court to refer the issue of arbitrability to an

arbitrator to determine. Arbitrator Brohman never performed this analysis and, instead, merely

assumed that he was empowered to – apparently – issue any order he so desired regardless of the

presence of an agreement to arbitrate. But neither Midwest nor Pundaleeka were signatories to the

Professional Services Agreement. Presence and JOHA were. Absent from any of Arbitrator

Brohman’s orders was a determination as to the arbitrability of the claims; a threshold issue. Once

JOHA was dismissed from the arbitration, there were no respondents that were signatories to the

Professional Services Agreement at issue in the case.

       Absent a determination by Arbitrator Brohman, as the Court directed, “as to whether the

arbitration clause should apply,” Arbitrator Brohman lacked jurisdiction over Petitioners. With no

jurisdiction, his Award should be vacated.



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       WHEREFORE, Petitioners, MIDWEST LEASING OF ILLINOIS, LLC, and SARODE

PUNDALEEKA, respectfully request that this Court enter a judgment vacating the Arbitration

Award entered May 2, 2023, by the American Health Lawyers Association in Claim No. 7146,

and for any other such relief that the Court finds necessary or proper under the circumstances.

                                                     Respectfully submitted,
                                                     Defendant/Third-Party Plaintiff
                                                     MIDWEST LEASING OF ILLINOIS,
                                                     LLC, and SARODE PUNDALEEKA

                                                     By: __/s/ Alexander Loftus
                                                            One of Their Attorneys

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David Eisenberg, Esq.
LOFTUS & EISENBERG, LTD.
161 N. Clark, Suite 1600
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T: 312.899.6625
alex@loftusandeisenberg.com
david@loftusandeisenberg.com

Dated: July 27, 2023




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                       Exhibit C
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                     Chapter       7
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Midwest Leasing of Illinois, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  502 Ambriance Dr.
                                  Burr Ridge, IL 60527
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                          Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Midwest Leasing of Illinois, LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7352

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                     Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
                                        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                Case
              Case   23-04510Doc
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                                            10/13/23 Entered
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                                                                                       Exhibit
                                       Document
                                            B Page Page    3 of 28
                                                     26 of 59
Debtor    Midwest Leasing of Illinois, LLC                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
               Case
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                                      Document
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Debtor   Midwest Leasing of Illinois, LLC                                             Case number (if known)
         Name

                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                Case
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                                       Document
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Debtor    Midwest Leasing of Illinois, LLC                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 4, 2023
                                                  MM / DD / YYYY


                             X /s/ Sarode Pundaleeka                                                      Sarode Pundaleeka
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Lester A. Ottenheimer III                                               Date April 4, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Lester A. Ottenheimer III 3127572
                                 Printed name

                                 Ottenheimer Law Group, LLC
                                 Firm name

                                 750 Lake Cook Road
                                 Suite 290
                                 Buffalo Grove, IL 60089
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     847-520-9400                  Email address      lottenheimer@olawgroup.com

                                 3127572 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
             Case
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                              20-3 Filed04/04/23
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                                    Document
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Fill in this information to identify the case:

Debtor name         Midwest Leasing of Illinois, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 4, 2023                   X /s/ Sarode Pundaleeka
                                                           Signature of individual signing on behalf of debtor

                                                            Sarode Pundaleeka
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
               Case
             Case   23-04510Doc
                  23-04510    Doc 1 Filed
                                20-3 Filed04/04/23
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                                                                                      Exhibit
                                      Document
                                           B Page Page    7 of 28
                                                    30 of 59
 Fill in this information to identify the case:

 Debtor name            Midwest Leasing of Illinois, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       1,912,211.80

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       1,912,211.80


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                  0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       2,943,042.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,943,042.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
             Case
           Case   23-04510Doc
                23-04510    Doc 1 Filed
                              20-3 Filed04/04/23
                                         10/13/23 Entered
                                                   Entered04/04/23
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                                                                                    Exhibit
                                    Document
                                         B Page Page    8 of 28
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Fill in this information to identify the case:

Debtor name          Midwest Leasing of Illinois, LLC

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    First Midwest Bank
           3.1.     n/k/a Old National                                Checking                              4000                                           $0.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                             $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
             Case
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Debtor        Midwest Leasing of Illinois, LLC                                             Case number (If known)
              Name




Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.

Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest


71.        Notes receivable
           Description (include name of obligor)
           Promissory Note - Sarode K.                               180,000.00 -                                      0.00 =
           Pundaleeka - Contingent                            Total face amount         doubtful or uncollectible amount                 $180,000.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                            page 2
           Case
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Debtor      Midwest Leasing of Illinois, LLC                                         Case number (If known)
            Name

         Promissory Note - Sarode K.                                 49,327.00 -                                  0.00 =
         Pundaleeka- Contingent                              Total face amount     doubtful or uncollectible amount          $49,327.00


         Promissory Note - Sarode K.                                 16,442.40 -                                  0.00 =
         Pundaleeka -Contingent                              Total face amount     doubtful or uncollectible amount          $16,442.40


         Promissory Note - Sarode K.                                 16,442.40 -                                  0.00 =
         Pundaleeka - Contingent                             Total face amount     doubtful or uncollectible amount          $16,442.40


         Promissory Note - Sarode K.                                 65,000.00 -                                  0.00 =
         Pundaleeka - Contingent                             Total face amount     doubtful or uncollectible amount          $65,000.00


         Promissory Note - Sarode K.                                 70,000.00 -                                  0.00 =
         Pundaleeka - Contingent                             Total face amount     doubtful or uncollectible amount          $70,000.00


         Promissory Note - Sarode K.                               165,000.00 -                           150,000.00 =
         Pundaleeka -                                        Total face amount     doubtful or uncollectible amount          $15,000.00



72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)
         Midwest Leasing of Illinois, LLC et. al. v. Joliet
         Oncology-Hematology, et.al.
         Will Case No: 2018L418
         3d Dist. Appeal No: 3-22-0133                                                                                      $200,000.00
         Nature of claim         Converted Rent
         Amount requested                      $2,000,000.00


         Midwest Leasing of Illinois, LLC v. Paramjit Sidhu, et.al.
         Will County Case No: 19L1046                                                                                         Unknown
         Nature of claim         Contribution, Fraud, Breach of
                                 Fiduciary Duty
         Amount requested                              $0.00



         Midwest Leasing of Illinois, LLC v. Presence                                                                       $100,000.00
         Nature of claim         Breach of Lease
         Amount requested                       $100,000.00


         Midwest Leasing of Illinois, LLC v. Kulumani Sivarajan,
         et. al.                                                                                                           $1,200,000.00
         Nature of claim         Breach of Fiduciary Duty
         Amount requested                     $1,200,000.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property
Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                                  page 3
           Case
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                            20-3 Filed04/04/23
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Debtor      Midwest Leasing of Illinois, LLC                                        Case number (If known)
            Name



77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                   $1,912,211.80
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                   page 4
              Case
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                                    Document
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Debtor          Midwest Leasing of Illinois, LLC                                                                    Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +              $1,912,211.80

91. Total. Add lines 80 through 90 for each column                                                         $1,912,211.80            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,912,211.80




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
            Case
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Fill in this information to identify the case:

Debtor name       Midwest Leasing of Illinois, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

     No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                         page 1 of 1
              Case
            Case   23-04510Doc
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                                                    Entered04/04/23
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                                    Document
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Fill in this information to identify the case:

Debtor name        Midwest Leasing of Illinois, LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $600,000.00
          Joliet Oncology-Hematology Assoc.                                  Contingent
          c/o Barnes & Thornburg, LLC                                        Unliquidated
          1 N. Wacker Drive, Suite 1400                                      Disputed
          Chicago, IL 60606
                                                                            Basis for the claim: Counterclaim - 18-L-0416
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,343,042.00
          Presence Central                                                   Contingent
          c/o Benesch Friedlander et. al.                                    Unliquidated
          71 S. Wacker Dr., Suite 1600                                       Disputed
          Chicago, IL 60606
                                                                            Basis for the claim: Civil lawsuit - 19 L 1046
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                     related creditor (if any) listed?                   account number, if
                                                                                                                                                         any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
5a. Total claims from Part 1                                                                            5a.        $                             0.00
5b. Total claims from Part 2                                                                            5b.    +   $                     2,943,042.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.        $                        2,943,042.00




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 1
                                                                                                          35670
              Case
            Case   23-04510Doc
                 23-04510    Doc 1 Filed
                               20-3 Filed04/04/23
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                                                        59of 28
Fill in this information to identify the case:

Debtor name        Midwest Leasing of Illinois, LLC

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
           Case
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Fill in this information to identify the case:

Debtor name      Midwest Leasing of Illinois, LLC

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:
   2.1                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.2                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.3                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.4                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Midwest Leasing of Illinois, LLC

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                          $0.00
      From 1/01/2023 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                                          $0.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other


      For year before that:                                                            Operating a business                                          $0.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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Debtor       Midwest Leasing of Illinois, LLC                                                   Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Midwest Leasing of Illinois,             Civil                       Will County Circuit Court                   Pending
              LLC, et. al.                                                                                                     On appeal
              v.
                                                                                                                               Concluded
              Joliet Oncalogy-Hematology
              Associates, et.al
              2018L416; 3-22-0133

      7.2.    Midwest Leasing of Illinois,             Civil                       Will County Circuit Court                   Pending
              LLC, et. al.                                                                                                     On appeal
              v.
                                                                                                                               Concluded
              Paramjit Sidhu, et. al.
              2019L1046

      7.3.    Joliet Oncology-Hematology               Civil -                     Will County Circuit Court                   Pending
              Assoc.                                   Counterclaim                                                            On appeal
              v.
                                                                                                                               Concluded
              Midwest Leasing of Illinois,
              LLC, et. al.
              2018L416;3-22-0133

      7.4.    Presence Central, et. al.                Arbritration                Will County Circuit Court                   Pending
              v.                                                                                                               On appeal
              Midwest Leasing of Illinois,
                                                                                                                               Concluded
              LLC, et. al.
              2019L1046

8. Assignments and receivership

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Debtor        Midwest Leasing of Illinois, LLC                                                    Case number (if known)



    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
               Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Ottenheimer Law Group, LLC
                750 Lake Cook Road
                Suite 290                                                                                              March 14,
                Buffalo Grove, IL 60089                  Attorney Fees                                                 2023                       $7,500.00

                Email or website address
                lottenheimer@olawgroup.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
             Case
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Debtor      Midwest Leasing of Illinois, LLC                                                     Case number (if known)



    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and          Last 4 digits of            Type of account or          Date account was               Last balance
               Address                                 account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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Debtor      Midwest Leasing of Illinois, LLC                                                     Case number (if known)




      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
          Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
          Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
          Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

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Debtor      Midwest Leasing of Illinois, LLC                                                    Case number (if known)



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Dowell Group, LLP                                                                                                  2010 to current
                    675 N. North Court
                    Suite 450
                    Palatine, IL 60067

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Dowell Group, LLP                                                                                                  2010 to current
                    675 N. North Court
                    Suite 450
                    Palatine, IL 60067

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Dowell Group, LLP
                    675 N. North Court
                    Suite 450
                    Palatine, IL 60067
      26c.2.        Dr. Sarode Pundaleeka


      26c.3.        Alexander Loftus



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
          Yes. Give the details about the two most recent inventories.

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Debtor      Midwest Leasing of Illinois, LLC                                                   Case number (if known)



             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Sanjiv Modi                                                                                Member                                  20%


      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Kulumani Sivarajan                                                                         Member                                  20%


      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Sarode Pundaleeka                                                                          Managing Member                         40%


      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Saoud Loutfi                                                                               Member                                  20%




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
          Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
          Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
          Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      Midwest Leasing of Illinois, LLC                                                    Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 4, 2023

/s/ Sarode Pundaleeka                                           Sarode Pundaleeka
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
              Case
            Case   23-04510Doc
                 23-04510    Doc 1 Filed
                               20-3 Filed04/04/23
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B2030 (Form 2030) (12/15)
                                                      United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       Midwest Leasing of Illinois, LLC                                                                 Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     7,500.00
             Prior to the filing of this statement I have received                                        $                     7,500.00
             Balance Due                                                                                  $                        0.00

2.    The source of the compensation paid to me was:

              Debtor            Other (specify):

3.    The source of compensation to be paid to me is:

              Debtor            Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
              reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
              522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     April 4, 2023                                                            /s/ Lester A. Ottenheimer III
     Date                                                                     Lester A. Ottenheimer III 3127572
                                                                              Signature of Attorney
                                                                              Ottenheimer Law Group, LLC
                                                                              750 Lake Cook Road
                                                                              Suite 290
                                                                              Buffalo Grove, IL 60089
                                                                              847-520-9400 Fax: 847-520-9410
                                                                              lottenheimer@olawgroup.com
                                                                              Name of law firm
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                                           United States Bankruptcy Court
                                               Northern District of Illinois
In re   Midwest Leasing of Illinois, LLC                                          Case No.
                                                            Debtor(s)             Chapter    7




                                   VERIFICATION OF CREDITOR MATRIX

                                                                  Number of Creditors:                           2




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   April 4, 2023                            /s/ Sarode Pundaleeka
                                                 Sarode Pundaleeka/Managing Member
                                                 Signer/Title
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                         Joliet Oncology-Hematology Assoc.
                         c/o Barnes & Thornburg, LLC
                         1 N. Wacker Drive, Suite 1400
                         Chicago, IL 60606


                         Presence Central
                         c/o Benesch Friedlander et. al.
                         71 S. Wacker Dr., Suite 1600
                         Chicago, IL 60606
           Case
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              23-04510    Doc 1 Filed
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                                            United States Bankruptcy Court
                                                Northern District of Illinois
 In re   Midwest Leasing of Illinois, LLC                                              Case No.
                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Midwest Leasing of Illinois, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




April 4, 2023                                    /s/ Lester A. Ottenheimer III
Date                                             Lester A. Ottenheimer III 3127572
                                                 Signature of Attorney or Litigant
                                                 Counsel for Midwest Leasing of Illinois, LLC
                                                 Ottenheimer Law Group, LLC
                                                 750 Lake Cook Road
                                                 Suite 290
                                                 Buffalo Grove, IL 60089
                                                 847-520-9400 Fax:847-520-9410
                                                 lottenheimer@olawgroup.com
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                       Exhibit D
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              BEFORE THE AMERICAN HEALTH LAWYERS ASSOCIATION
                         DISPUTE RESOLUTION SERVICE

 PRESENCE CENTRAL AND SUBURBAN                       )
 HOSPITALS NETWORK F/K/A PRESENCE                    )
 HOSPITALS PRV F/K/A PROVENA                         )
 HOSPITALS,                                          )          Claim No. 7146
                                                     )
         Claimant,                                   )          Arbitrator Michael Brohman
                                                     )
         v.                                          )
                                                     )
 MIDWEST LEASING OF ILLINOIS, LLC,                   )
 JOLIET ONCOLOGY-HEMATOLOGY,                         )
 ASSOCIATES, LTD., and SARODE K.                     )
 PUNDALEEKA,
         Respondents.

                                        FINAL AWARD

                                          Background

       1.      On March 13, 2023, I entered Order No. 12, in which I issued a default order against

each of Respondents Midwest and Pundaleeka “for each of their separate failures, without good

cause shown, to comply with the additional deposit requirements of Orders 3, 5, and 10.” (Order

No. 12 at ¶ 11.)

       2.      I then gave Claimant Presence until March 24, 2023, to “submit any documents in

support of its damages claims,” and Respondents Midwest and/or Pundaleeka until March 31, 2023

to “submit any documents in response to Presence’s damages.” (Order No. 12 at ¶ 12). I further

set this matter for April 5, 2023 at 10:00 A.M. for a “prove-up hearing on the issue of damages

due to Presence arising from the defaults of Midwest and/or Pundaleeka.” (Id.)

       3.      On March 24, 2023, Presence submitted (1) its Brief in Support of Requested

Arbitration Award, which attached 10 exhibits, (2) the Affidavit of Kevin Larkin, which attached

9 exhibits (Exhibits A–I), and (3) the Affidavit of Christopher J. Letkewicz, Esq., which attached

5 exhibits. (Collectively, “Presence’s Damages Submission”). In Presence’s Brief, Presence

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claimed that it was entitled to an arbitration award of $2,060,395.15, broken down as follows: (1)

$2,343,042 representing the “total amount of errant payments received by Midwest,” plus (2)

$412,760.55 in prejudgment interest plus, (3) $504,592.60 in attorney’s fees and costs, minus (4)

former Respondent JOHA’s settlement payment to Presence of $1,200,000.00.

       4.      Neither Midwest nor Pundaleeka submitted any documents in response to

Presence’s damages claims.

       5.      On April 5, 2023, a telephonic prove-up hearing on the issue of damages was held.

Counsel for Presence appeared. Counsel for Midwest/Pundaleeka did not appear. When counsel

for Midwest/Pundaleeka had still not appeared after several minutes beyond the beginning of the

call, I sent an email to counsel for Midwest/Pundaleeka (and included counsel for Presence on the

email), stating: “Counsel for Presence and I are on the conference call. Will anyone representing

Midwest/Dr. Pundaleeka be joining us? If so, please join us now or we will just go ahead and

proceed.” After several minutes passed and still no one representing Midwest/Pundaleeka joined

the call, we proceeded with the prove-up hearing. No one from Midwest/Pundaleeka joined the

hearing at any point thereafter. At the prove-up hearing, counsel for Presence made an oral

argument in support of Presence’s requested arbitration award.

                                            Damages

       6.      Based on that oral argument and the evidence and arguments in Presence’s

Damages Submission, and for the reasons set forth below, I hereby award, in full and final

resolution all of the remaining issues submitted for determination, the following itemized award.

       Presence’s Unjust Enrichment Claim

       7.      In Presence’s Demand, Presence asserts an unjust enrichment claim against

Midwest and Pundaleeka (the latter of which is based on Pundaleeka being an alter ego of



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Midwest). Under Illinois law (the controlling law here), the remedy for unjust enrichment is

restitution equaling the value of the benefit the respondent received from the claimant that violates

the fundamental principles of justice, equity, and good conscience. See HPI Health Servs., Inc. v.

Mt. Vernon Hosp., Inc., 131 Ill. 2d 145 (1989). Accordingly, where a respondent receives money

that justice, equity, and good conscience demands that he return to plaintiff, respondent must return

the full amount he unjustly received and refused to return. See Blus v. Lowrance, 2018 IL App

(1st) 170867-U; see also Bd. of Ed. of City of Chi. v. Holt, 41 Ill. App. 3d 625 (1st Dist. 1976);

Norton v. City of Chi., 293 Ill. App. 3d 620 (1st Dist. 1997); Smithberg v. Ill. Mun. Ret. Fund, 192

Ill. 2d 291 (2000). Based on Presence’s Damages Submission, including, in particular, the

Affidavit of Kevin Larkin, and Midwest’s bank records submitted by Presence, Midwest received

$2,343,042.00 in payments between 2015 and 2019 that it was not entitled to keep. Midwest

thereafter wrongfully refused to return such payments to Presence. Pundaleeka is jointly and

severally liable for the un-returned payments based on evidence that he was the alter-ego of

Midwest, that he authorized substantial payments from Midwest to JOHA to effectively make

Midwest judgment proof, and that he withdrew substantial funds from Midwest for his own

personal benefit and to the detriment of Midwest creditors like Presence. Presence, however, is

not entitled to the full $2,343,042.00, because it received a $1,200,000.00 settlement payment from

JOHA. Accordingly, Presence is only entitled to $1,143,042.00 ($2,343,042.00 minus

$1,200,000.00) in restitution for its unjust enrichment claim.

       Prejudgment Interest

       8.      Under Illinois law, a party may recover prejudgment interest on an unjust

enrichment claim. See, e.g., Blus, 2018 IL App (1st) 170867-U; Nat’l Union Fire Ins. Co. of

Pittsburgh v. DiMucci, 2015 IL App (1st) 1222725. Accordingly, Presence is entitled to



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prejudgment interest. Presence is entitled to the statutory rate of five percent (5%) (815 ILCS

205/2), calculated from September 27, 2019, the date Presence demanded the return of the

$2,343,042.00 from Midwest, to the date of this Final Award, April 5, 2023. There is, however,

the issue of what should be the “base” amount for calculating prejudgment interest. I conclude that

for the September 27, 2019 to December 31, 2022 time frame, prejudgment interest should be

based on the full $2,343,000.00, and for December 31, 2022 to April 5, 2023, prejudgment interest

should be based on $1,143,042.00, to account for JOHA’s December 31, 2022 settlement payment

to Presence. Accordingly, Presence is entitled to: (a) $382,268.91 in prejudgment interest from

September 27, 2019 to December 31, 2022, and (b) $14,718.62 in prejudgment interest from

January 1, 2023 to April 5, 2023, for a total prejudgment interest amount of $396,987.53.

        Attorney’s Fees, Costs and Arbitration Fees

        9.      Under Paragraph 28 of the Professional Services Agreement, the agreement that

Midwest and Pundaleeka relied on to compel this arbitration, it provides: “Reasonable costs

associated with the resolution of the dispute, including attorneys’ fees, may be awarded to the

prevailing party in any arbitration.” (See, e.g., Claimant’s Br. Ex. 7 at ¶ 28.) Presence is clearly

the prevailing party here, and the issue becomes what are Presence’s “[r]easonable costs …

including attorney’s fees.” Presence asserts that it is entitled to all its attorney’s fees and costs from

both prior to and after it filed its Demand. I disagree. Under the terms of Paragraph 28, Presence

is only entitled to its reasonable costs in connection with the arbitration itself. According to

Presence’s Damages Submission, Presence states that it incurred $212,038.89 in attorney’s fees

and $9,777.75 in costs in connection with the arbitration. (See Claimant’s Br. 9 n.6; Letkewicz

Aff. ¶ 11.)




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           In addition, Presence incurred $3,500 in arbitration fees to make up for the failure of

Midwest/Pundaleeka to pay their share of additional arbitration fees that were requested of all

parties.

           I conclude that these attorney’s fees, costs and arbitration fees are eminently reasonable.

These attorney’s fees, costs and arbitration fees are well documented in the detailed invoices

attached to Mr. Letkewicz affidavit, as well as in the AHLA’s receipt of the additional arbitration

fees that Presence paid on Midwest’s/Pundaleeka’s behalf. Further, as set forth in Mr. Letkewicz’s

affidavit, Presence, with exception to the most recent invoice issued on March 6, 2023, has paid

all of its prior invoices, which represents the vast majority of the requested attorney’s fees and

costs amount, and with respect to the unpaid invoice, counsel for Presence anticipates Presence

paying that invoice in full because Presence has consistently paid all its counsel’s invoices.

(Letkewicz Aff. ¶ 11.) Accordingly, I award Presence $212,038.89 in attorney’s fees, $9,777.75

in costs and $3,500.00 in arbitration fees.

           Final Calculation

           10.    In sum, I hereby award Presence, in full and final resolution of all of the issues

submitted for determination, (a) $1,143,042.00 in unjust enrichment damages, (b) $396,987.53 in

prejudgment interest, (c) $212,038.89 in attorney’s fees, (d) $9,777.75 in costs, and (e) $3,500.00

in arbitration fees, for a total award of $1,765,346.17. In addition, for their failure to timely pay

the additional $3,500.00 in arbitration fees on or before their due dates, Midwest and Pundaleeka

are directed to pay the AHLA late fees in the sum of $157.50. For the avoidance of doubt, Midwest

and Pundaleeka are jointly and severally liable for this award.

 Dated: April 5, 2023

                                                            Michael B. Brohman, Arbitrator



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                       Exhibit E
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Attached you will ﬁnd the corrected Final Arbitration Award in the above matter. This award should be on
the AHLA site soon.

Thank you for the professionalism that all of you exhibited during this matter. Each of you very admirably
represented your clients’ interests. Good luck as you continue to sift through your remaining issues.

Michael B. Brohman


                                  Shareholder


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Roetzel & Andress, A Legal Professional Association

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